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                           OFFICE OF THE CLERK
                       UNITED STATES DISTRICT COURT
                          Northern District of California

                                      CIVIL MINUTES
Date: August 2, 2022             Time: 2:40 - 3:10              Judge: EDWARD M. CHEN
                                       = 30 minutes


Case No.: 21-cv-01143-EMC        Case Name: Sausalito/Marin County Chapter CA Homeless
          22-cv-00928-EMC                    v. City of Sausalito (21-1143)
          22-cv-01810-EMC                    Philip Deschamps v. City of Sausalito (22-928)
          22-cv-01809-EMC                    Haley Allen v. City of Sausalito (22-1810)
          22-cv-02098-EMC                    Robbie Powelson v City of Sausalito (22-1809)
          22-cv-01995-EMC                    Jennifer Moffit v City of Sausalito (22-2098)
          22-cv-02421-EMC                    Arthur Bruce v City of Sausalito (22-1995)
          22-cv-02441-EMC                    Jeff Chase v City of Sausalito (22-2421)
          22-cv-02727-EMC                    Ryan Tuttle v Zapata et al. (22-2441)
          22-cv-03113-EMC                    Speary v. City of Sausalito (22-2727)
          22-cv-03627-EMC                    Barron v. City of Sausalito (22-3113)
                                             Worthen v. City of Sausalito (22-3627)
Attorney for Plaintiff: Anthony Prince
Pro Se Plaintiff(s): Robbie Powelson, Arthur Bruce, Haley Allen, Jeff Chase, Philip Deschamps
Attorney for Defendant: Alexander Merritt
Attorney for Defendant (Pro Se cases): Arthur Gaus
Also Present: Gregory Rubens- City Attorney.

Deputy Clerk: Vicky Ayala                             Court Reporter: Raynee Mercado

                                       PROCEEDINGS
Status Conference – held.

                                         SUMMARY

Plaintiff Homeless Union and Defendant City of Sausalito are close to reaching a resolution of
the case. The parties are still negotiating the settlement. City Council has approved but would
like to review the final agreement. Defendant for Pro Se Cases indicated there may be common
issues that may be briefed to determine if there may be some secondary resolution. Pro Se
Plaintiff Deschamps is uncertain how the settlement of the Homeless Union will affect his case.
Pro Se Plaintiff Bruce indicated he has heard positive settlement negotiations are being
conducted and a short continuance would be beneficial to all parties involved. He also stated
that the security company looking after the encampment was fired by City of Sausalito. Pro Se
Plaintiff Powelson stated he will wait to see what happens with the settlement. Court ordered
City of Sausalito not to dispose of Mr. Deschamps property for five days. Court set further case
management conference for 8/23/2022, at 3:00 PM.
